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                     Exhibit 14
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Douglas, Charles W

From: Carl_Barbier@laed.uscourts.gov [mailto:Carl_Barbier@laed.uscourts.gov]
Sent: Wednesday, January 30, 2013 04:50 PM
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Cc: 'Magistrate Sally Shushan (Sally_Shushan@laed.uscourts.gov)'
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Subject: Review of Issue from Panel (Matching of Revenue and Expenses)


Gentlemen:

This will confirm our meeting and discussion which occurred on Thursday,
January 24, 2013.

The Court discussed with counsel for BP, the PSC and the Claims
Administrator issues relating to the claims administrator's January 15,
2013 "Announcement of Policy Decisions Regarding Claims Administration."
The issue raised by counsel for BP is whether the Claims Administrator has
correctly interpreted the terms of the Economic and Property Damage
Settlement Agreement as it applies to the calculation of "Variable Profit"
for Business Economic Loss Claims.

Following our discussion last week, I have now had the opportunity to fully
review the Settlement Agreement and the materials submitted by the parties.
The Court upholds the Claims Administrator's interpretation as set forth in
his January 15, 2013 memorandum. While the Court acknowledges that this
may sometimes cause apparent anomalies (in either direction) in claim
determinations, this appears to be the result of the objective,
straight-forward mechanisms set forth in the Settlement Agreement.   BP's
proposed remedy does not appear to be based on any generally accepted
accounting principle, and might only result in adding another level of
complexity and subjective analysis to the BEL calculation.

Thank you for your continued cooperation,

Carl Barbier




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